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                         Supreme Court of the United States
                                Office of the Clerk
                            Washington, DC 20543-0001
                                                                             Scott S. Harris
                                                                             Clerk of the Court
                                                                             (202) 479-3011
                                         November 18, 2024


           Clerk
           United States Court of Appeals for the Fourth
           Circuit
           1100 East Main Street
           Room 501
           Richmond, VA 23219


                 Re: West Virginia Secondary School Activities Commission
                     v. B. P. J., By Her Next Friend and Mother, Heather Jackson, et
                     al.
                     No. 24-44
                     (Your No. 23-1078, 23-1130)


           Dear Clerk:

                 The Court today entered the following order in the above-entitled case:

                 The petition for a writ of certiorari is denied.



                                                   Sincerely,




                                                   Scott S. Harris, Clerk
